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                             THE UNITED STATED DISTRICT COURT
                                     DISTRICT OF UTAH

CRICUT, INC., a Delaware corporation,
                                                      ORDER GRANTING [7] MOTION FOR
                Plaintiff,                              PRO HAC VICE ADMISSION OF
                                                              DAVID TOBIN
v.                                                           Case No. 2:21-cv-00601-DBB
ENOUGH FOR EVERYONE, INC., a Nevada                           District Judge David Barlow
corporation, and DESIRÉE TANNER, an
individual,

                Defendants.


         It appearing to the Court that Petitioner meets the pro hac vice admission requirements of

DUCiv R 83-1.1(d), the motion for the admission pro hac vice of David Tobin, 1 of Baker Botts

L.L.P., in the United States District Court, District of Utah in the subject case is GRANTED.

         Dated this 14th day of October 2021.

                                                      BY THE COURT



                                                      David Barlow
                                                      United States District Judge




1 ECF No. 7.
